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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,

                        v.

 MICK CHAN,                                             Case No. 1:21-cr-668-TNM

                        Defendant.


                                              ORDER

       Defendant Mick Chan is charged with four misdemeanor counts related to his alleged

conduct in the U.S. Capitol on January 6, 2021. See Information, ECF No. 9. This Order

addresses some, but not all, of the ripe motions filed before Chan’s trial.

       It is hereby ORDERED that the Government’s [29] Motion in Limine Regarding

Evidence About the Specific Location of U.S. Capitol Police Cameras is GRANTED as

unopposed. It is also

       ORDERED that Defendant’s [27] Motion to Dismiss Counts One, Two, and Four of the

Information is DENIED. First, Defendant seeks dismissal of Counts One and Two, which

charge violations of 18 U.S.C. § 1752, on the grounds that the U.S. Capitol Police, not the U.S.

Secret Service, barricaded the area around the Capitol on January 6. But this Court and many

other judges in this district have rejected this argument. See, e.g., United States v. Griffin, 549 F.

Supp. 3d 49, 54–55 (D.D.C. 2021); United States v. Mostofsky, 579 F. Supp. 3d 9, 28 (D.D.C.

2021). Second, Defendant argues that § 1752 is not applicable because the former Vice

President was not temporarily visiting the U.S. Capitol on January 6, 2021. Though other judges

in this district have rejected this argument, see, e.g., United States v. Puma, No. 21-cr-0454,

2022 WL 823079, at *16–17 (D.D.C. Mar. 19, 2022), the Court will deny without prejudice this


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portion of the motion subject to further factual development at trial. Third, Defendant argues

that Count Four, which charges violations of 5104(e)(2)(G), should be dismissed because it is

overbroad and unconstitutionally vague. The Court finds that this argument lacks merit, as have

several other judges in this district. See, e.g., United States v. Nassif, No. 21-cr-421, 2022 WL

4130841, at *2–7 (D.D.C. Sept. 12, 2022). It is also

       ORDERED that Defendant’s [28] Motion for Discovery is DENIED as moot.

Defendant’s request is unnecessary in light of existing statutory and constitutional rights.

“Federal Rule of Criminal Procedure 16 . . . and Brady v. Maryland, 373 U.S. 83, 1194 (1963),

all impose duties on the Government to disclose certain materials and evidence to criminal

defendants.” United States v. Vega, 826 F.3d 514, 533 (D.C. Cir. 2016). The Government is

already required to produce the information than Chan requests. The Court will address any

specific alleged Brady violations at the Pre-Trial Conference.

       SO ORDERED.


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Dated: December 21, 2022                               TREVOR N. McFADDEN, U.S.D.J.




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